              3:18-cv-00865-JMC                  Date Filed 08/09/18          Entry Number 20            Page 1 of 1
AO 450 (Rev. 01/09) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                       District of South Carolina




Columbia Dentistry, LLC, successor in interest
The Dental Team, USA; Dr. Annette I. Riley;
Roy Riley Bey,
                     Plaintiffs
                         v.                                                Civil Action No.      3:18-00865-JMC

Emmen Holdings, LLC; Madna Holdings,
LLC; Nassimi Reality, LLC; Eakjv Holding,
LLC; Nassimi Brick Plaza, Inc.; Nassimi Soho
Development, LLC, successor in interest
Dutch Square, LLC,
                   Defendants

                                                 JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 the plaintiff (name)                    recover from the defendant (name)              the amount of            dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of     %, along with
costs.
 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                             .
O other: the Plaintiffs take nothing of the Defendants and this action is dismissed without issuance and service of
process.


This action was (check one):
 tried by a jury with Judge                           presiding, and the jury has rendered a verdict.

 tried by Judge                         without a jury and the above decision was reached.
O decided by the Honorable J. Michelle Childs, United States District Judge presiding. The issues having been
reviewed by the Honorable Paige J. Gossett, United States Magistrate Judge, who recommended in her Report and
Recommendation that this case be dismissed.


                                                                          CLERK OF COURT
Date: August 9, 2018
                                                                                              s/Angie Snipes
                                                                                    Signature of Clerk or Deputy Clerk
